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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


 RICHARD JONES,

                      Plaintiff,

 v.                                               Civil Action No. 16-2405 (DLF)

 DISTRICT OF COLUMBIA,

                      Defendant.


                               JOINT STATUS REPORT

      As directed by the Court’s June 28, 2019 Minute Order, the Parties submit this

Joint Status Report to propose a schedule for further proceedings. The Parties

propose that the District of Columbia (the District) file an amended answer (if any)

to plaintiff’s Amended Complaint by July 17, 2019, and that the Court set the Initial

Scheduling Conference on a date between August 2-8, 12-13, or on August 15, 2019.

      In accordance with LCvR 16.3(a) and Fed. R. Civ. P. 26(f)(1), counsel intend to

confer at least 21 days prior to the date of the Initial Scheduling Conference to discuss

each Party’s position on the scope of discovery, as well as the matters outlined in

LCvR 16.3(c). The Parties propose that no fewer than 7 days prior to the date of the

Initial Scheduling Conference, they submit a joint report that:            (1) outlines a

discovery plan as described in Fed. R. Civ. P. 26(f)(3); (2) addresses all topics listed in

LCvR 16.3(c), except for the pretrial conference date, LCvR 16.3(c)(14), and the issue

of when the Court should set a firm trial date, LCvR 16.3(c)(15); and (3) sets forth a

proposed scheduling order. See LCvR 16.3(d).
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      Plaintiff notes that he may still file a motion for reconsideration of the Court’s

August 31, 2018 decision denying his request to extend the deadline for class action

treatment of the Complaint [28]. Plaintiff will file his motion for reconsideration (if

at all) before the scheduling conference. The District maintains that such a motion

would be without merit.

Dated: July 3, 2019.                          Respectfully submitted,

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        Admitted to practice only in the State of Washington. Practicing in the
District of Columbia under the direct supervision of Fernando Amarillas, a member
of the D.C. Bar. See LCvR 83.2(f).

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